                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )        Case No. 15-06008-10-CR-SJ-GAF
                                            )
DARYL RAY WATTS,                            )
                                            )
                      Defendant.            )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(j)(27),

and 28 U.S.C. § 636 and entered a plea of guilty pursuant to Fed.R.Crim.P. 11(c)(1)(B) to the

charge of conspiracy to distribute fifty (50) grams or more of methamphetamine, a lesser included

offense of Count One of the Indictment.         The Defendant also admitted the allegations of

forfeiture, which include a money judgment to be entered against the Defendant, as contained in

the Indictment. I determined that the guilty plea is knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the essential

elements of such offense. A record was made of the proceedings and a transcript is available. I

therefore recommend that the plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within fourteen days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1).


                                                          /s/ Sarah W. Hays
                                                         SARAH W. HAYS
                                                 UNITED STATES MAGISTRATE JUDGE



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